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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )                    Civil Action No. 2:12-cv-00859
                                    )                    Section I, Division 5
SUSAN HUTSON, ET AL,                )                    Judge Lance M. Africk
Defendants                          )                    Magistrate Judge Michael B. North
___________________________________ )
                                    )
SUSAN HUTSON,                       )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)


       PLAINTIFF CLASS MEMORANDUM ADDRESSING WHETHER THE COURT
               SHOULD ISSUE AN ORDER EMBODYING THE TERMS
                 OF THE COOPERATIVE ENDEAVOR AGREEMENT

          The Court recently ordered: “in light of the Sheriff’s counsel’s statement at the recent status

conference that the Sheriff does not intend to sign a cooperative endeavor agreement (CEA) with

the City for the construction of Phase III, the parties are instructed to file memoranda addressing

the question of whether the Court should issue an order embodying the terms of the CEA currently

before the City Council if the Sheriff does, in fact, refuse to sign the document.”1

          As has already been exhaustively litigated, and as reiterated just this week in the Plaintiff

Class’ opposition to OPSO’s motion to terminate,2 the Phase III facility is the negotiated and court-


1
    ECF No. 1621.
2
     See, e.g., ECF No. 1385 (Report and Recommendations); ECF No. 1396 (Order Adopting Report and
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enforceable plan to remedy long-standing constitutional violations at the Orleans jail. This Court

is well within its authority to bind local government officials, including the Sheriff, to terms

necessary to fulfill the parties’ agreement (in settlement of the Plaintiffs’ 2016 motion to enforce

the Consent Judgment), as well as this Court’s subsequent orders as to that Stipulated Order and

Supplemental Compliance Action Plan.3

          Much of the following briefing will be familiar, as it was previously provided by the

Plaintiff Class in its sur-reply to the City of New Orleans’ motion to stay,4 following adoption of

the Report and Recommendation to deny the City’s motion for relief. In its reply in support of its

motion to stay, the City argued, for the first time, “that the New Orleans City Council is somehow

empowered by the City Charter to invalidate this Court’s lawful orders and its own contractual

obligations by refusing to approve a zoning variance.”5 This Court ordered the parties to file a sur-

reply “addressing the procedural and merits-based arguments raised in the City’s reply brief.”6

Now, borrowing yet another page out of the City’s failed playbook, the Sheriff has declared that

her refusal to sign the CEA – described by Sheriff’s counsel as “a part of municipal law in regards

to what work can be done . . . pursuant in agreement with the Sheriff and the City” – will prevent

the Phase III facility from moving forward.7 The prior briefing as to the City’s misplaced reliance

on municipal law applies equally to the Sheriff’s latest attempt to contravene the powers of this

Court.8



Recommendation, affirmed by Anderson v. City of New Orleans, 38 F. 4th 472 (5th Cir. Jun. 30, 2022); ECF No.
1625 (Plaintiff Class Opposition to OPSO Motion to Terminate).
3
  The United States Constitution (Article VI, Clause 2) itself provides clear direction: “This Constitution, and the Laws
of the United States . . . , shall be the supreme Law of the Land; and the Judges in every State shall be bound thereby,
any Thing in the Constitution or Laws of any State to the Contrary notwithstanding.”
4
  ECF No. 1439.
5
  See ECF No. 1430 at 1.
6
  Id.
7
  Transcript at 39:33-40:19, June 28, 2023 status conference on Sheriff’s remark.
8
  Based on the representations of the City’s counsel in open court on June 28, 2023, the Plaintiff Class understands
the City’s current position to be reflected by Councilmembers’ letter recognizing “the supremacy of the United States
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         The breadth of remedial power available to Federal courts to correct constitutional

violations, and to enter and enforce consent agreements, is well-established.9 In the Eastern District

of Louisiana, fair housing litigation brought against St. Bernard Parish is instructive. In December

2008, the Greater New Orleans Fair Housing Action Center (GNO) and an intervenor-plaintiff

filed a motion to enforce, alleging that an ordinance passed by the St. Bernard Parish Council in

September 2008 violated a previously-entered consent order.10 The ordinance at issue had placed

a moratorium on the construction of multi-family housing, and the plaintiffs contended this action

was racially discriminatory and had been taken in violation of the Fair Housing Act and the consent

order. Following an evidentiary hearing, the court concluded that the ordinance had a disparate

racial impact on African-Americans, and also found that the Parish’s and the Council’s intent in

enacting the moratorium had been discriminatory. In granting the plaintiffs’ enforcement motion,

the court ordered “that the Defendants St. Bernard Parish and St. Bernard Parish Council shall

rescind Ordinance SBPC # 905-09-98, its moratorium on all housing developments with five or

more units,” and that defendants be immediately enjoined from enforcing the ordinance until it

was rescinded.11



Constitution over City laws as well as the legal binding final judgments of the magistrate, district and appellate courts
regarding Phase III.” ECF No. 1620 at 1; Transcript at 36:19-25, June 28, 2023 Status Conference on Sheriff’s Remark.
Given the specific language of this Court’s order for memoranda directed to the Sheriff’s declaration, as well as the
Plaintiff Class’ understanding of the City’s position based on its prior representations, this memorandum addresses
the Court’s authority in light of the Sheriff’s refusal to sign the CEA. But this analysis is equally applicable to any
inaction the City may wish to entertain.
9
   See, e.g. U.S. v. Alcoa, Inc., 533 F.3d 278, 286 (5th Cir. 2008) (finding that “consent decrees are more than
contracts,” “[t]hey are also enforceable judicial orders,” instructing “that district courts have the power and ordinarily
must hold parties to the terms of a consent decree,” and further noting that district courts “have wide discretion to
enforce decrees and to implement remedies for decree violations”). See also Swann v. Charlotte-Mecklenburg Bd. of
Ed., 401 U.S. 1, 15 (1971) (“Once a right and a violation have been shown, the scope of a district court’s equitable
powers to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable remedies.”); Milliken v.
Bradley, 433 U.S. 267, 282 (1977) (“where, as here, a constitutional violation has been found, the remedy does not
‘exceed’ the violation if the remedy is tailored to cure the ‘condition that offends the Constitution.’”).
10
    A consent order entered in February 2008 had “settled plaintiffs’ allegations that defendants violated the Fair
Housing Act of 1968 . . . in enacting several housing ordinances. Greater New Orleans Fair Housing Action Center v.
St. Bernard Parish, 641 F.Supp.2d 563, 565 (E.D. La. Mar. 25, 2009).
11
   Id. at 578.
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        Months later, the plaintiffs once again moved for enforcement of the consent order, alleging

that the defendants’ conduct since the March 2009 order constituted a further violation of the

consent order: in April 2009, the Parish Planning Commission had denied the plaintiffs’

application to re-subdivide, thereby enacting the same discriminatory practice as the now-

rescinded moratorium.12 Further, the plaintiffs alleged that the Parish Council and the Planning

Commission had injected improper concerns into otherwise routine re-subdivision requests.

Following another evidentiary hearing, the court granted the plaintiffs’ motions for enforcement

and contempt, finding that (1) the defendants’ conduct, by subverting the re-subdivision process,

had a discriminatory effect on African-Americans and therefore violated the Fair Housing Act and

the terms of the 2008 Consent Order,13 and (2) the objections raised by the Planning Commission

and the Parish Council (to the re-subdivision application) were irrelevant and pretextual.14 The

court ordered that the re-subdivision applications be placed on the agenda for the next calendar

Planning Commission hearing.15

        Thus, as illustrated by these remedial measures of the Greater New Orleans Fair Housing

Action Center litigation, it is clearly within the purview of Federal courts to direct local political

entities, like the Orleans Parish Sheriff, to take specific action (including, as here, actions related

to the land use) where such action is necessary to enforce compliance with previously-entered

consent agreements.

        Greater New Orleans Fair Housing Action Center emerges from decades of jurisprudence

as to remedying violations of Federal constitutional and statutory rights to be free of racial




12
   Greater New Orleans Fair Housing Action Center v. St. Bernard Parish, 648 F.Supp.2d 805 (E.D. La. Aug. 17,
2009).
13
   Id. at 821.
14
   Id.
15
   Id.
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discrimination in the provision of housing.16 One needs only look to Village of Arlington Heights

et al. v. Metropolitan Housing Development Corporation et al.,17 its subsequent procedural history,

and its progeny to locate plentiful support for the role Federal courts must play in the remediation

of rights violations, including through orders directing the action of local political subdivisions

responsible for the perpetuation of such violations.

         In 1971 the Metropolitan Housing Development Corporation (MHDC) had applied to the

Village of Arlington Heights, Illinois, for rezoning of a parcel of land from single-family to

multiple-family, intending to build low- and moderate-income housing. The Village denied the

rezoning request, and MHDC, along with other plaintiffs, sued the Village, alleging that the denial

was racially discriminatory and violated the Fourteenth Amendment as well as the Fair Housing

Act of 1968.18 Following remand from the United States Supreme Court, the Court of Appeals

held that “the Village of Arlington Heights ha[d] a statutory obligation under the Fair Housing Act

. . . to refrain from the perpetuation of zoning policies that effectively foreclosed construction of

low-cost housing within its boundaries,”19 and further remanded the case for the district court to

determine whether there was land within the municipality that was properly zoned and suitable for

subsidized housing. If not, the Village’s refusal to rezone the development site would violate the

Fair Housing Act and the plaintiffs would be entitled to the affirmative relief they sought – the


16
   One could also look to the history of Federal court action to address constitutional violations and breaches of
corrective orders in the context of school desegregation, which also impacts local functions such as those of boards of
education. See, e.g., Dayton Bd. of Ed. V. Brinkman, 433 U.S. 406, 419-20 (1977) (recognizing the power of federal
courts “to restructure the operation of local and state government entities” on the basis of a constitutional violation);
U.S. v. Lawrence County School Dist., 799 F.2d 1031, 1043 (5th Cir. 1986) (holding “the remedial power of a federal
court that adopts a desegregation plan is not thereafter limited to enforcement of the details of the original plan,” and
if “it becomes evident that an integrated school system cannot be achieved simply by directing adherence to the
original plan, the court may consider remedial measures that are designed to restore the victims of segregation to the
position they would have occupied absent both the original discriminatory conduct and the aggravation of it by school
authorities’ failure to comply with corrective orders”).
17
   429 U.S. 252 (1977).
18
   Id. at 254.
19
   Metro. Hous. Dev. Corp. v. Village of Arlington Heights, 469 F. Supp. 836, 842–43 (N.D. Ill. 1979), aff'd, 616 F.2d
1006 (7th Cir. 1980), citing Metro. Hous. Dev Corp. v. Village of Arlington Heights, 558 F.2d 1283 (7th Cir. 1977).
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rezoning of the site to permit construction.

         While recognizing that “local authorities have the primary responsibility for dealing with

local matters,” the district court found that “if local authorities fail in their affirmative obligations

under federal law, judicial authority may be invoked.”20 The court concluded that, its power having

been properly invoked in the case, it could order “site-specific affirmative relief, based on the

statutory violation alleged in the complaint.”21 In entering its consent decree, the district court

specifically ordered, among other remedies, that the Village of Arlington Heights (1) adopt an

ordinance annexing properties described in the order, and (2) adopt amendments to its zoning and

related ordinances to reclassify the properties. The amendments and changes to the zoning

ordinance, other ordinances, and the zoning documents were to be accomplished “without further

notice or hearing or proceeding.”22 “In this decision, the court attempted to the best of its abilities

to use its broad and flexible equity powers to fashion a result that would do justice to all

concerned.”23

         Lastly, review of the district court’s actions in Spallone v. United States24 further elucidate

the broad powers of the Federal bench to direct a party’s compliance with previously-entered

consent agreements. In this suit brought against the city of Yonkers and its Community

Development Agency for intentionally enhancing racial segregation in housing, the district court

concluded that the defendants had violated the Fair Housing Act and the Fourteenth Amendment,

and entered a remedial decree enjoining the defendants from promoting racial residential

segregation and requiring affirmative steps be taken by the city to disperse public housing. 25 After



20
   Id. at 852-53, citing Milliken v. Bradley, 433 U.S. 267, 280-81 (1977).
21
   Id. at 853.
22
   Id. at 870.
23
   Id. at 869.
24
   493 U.S. 265 (1990).
25
   Id. at 268-69.
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the appellate court upheld the district court’s judgment, the parties consented to an agreement that

set forth actions the city would take to implement the affirmative portions of the court’s remedial

decree. Such actions included the adoption of legislation directing zoning changes. 26 When “the

city continued to delay action toward implementing the long-term plan,” the district court entered

an order requiring the city to enact the legislative package described in the earlier consent

agreement, and further outlined daily fines that would be leveraged in the event of contempt.27

Despite these directives, the city council voted to defeat the agreed-upon legislative package, and

the district court held both the city as well as the individual councilmembers in contempt. On

certiorari, the United States Supreme Court concluded that the district court “should have

proceeded with such contempt sanctions first against the city alone in order to secure compliance

with the remedial order.”28

          Thus, Federal courts possess broad and flexible remedial powers to address constitutional

and statutory violations, to enter consent agreements, and to progress such agreements when

inaction or breach occurs, including through measures that impact or direct local parish and/or

municipal functions. Accordingly, Sheriff Hutson’s refusal to sign the CEA is not any impediment

to this Court issuing an enforceable order memorializing the terms of the cooperation necessary

between the Orleans Parish Sheriff’s Office and the City of New Orleans to construct and operate

the Phase III facility.




26
   Id. at 270.
27
   Id. at 271.
28
   Id. at 280.
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                                  Respectfully submitted,

                                  FOR THE PLAINTIFF CLASS:

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